EXHIBIT A
                                 Proposed Curative Instruction

        You may have heard the defense say during opening argument that Ms. Carroll was under

a legal duty to mitigate or minimize the damages (if any) that she suffered because of Mr. Trump’s

defamatory statements. That statement of the law was incorrect. Under controlling law, when a

person engages in defamation, they are responsible for the damages caused by their defamatory

statements, and the law does not impose any duty on the plaintiff to seek to mitigate or minimize

that harm. Regardless, what lawyers say about the law in opening statements is not controlling. I

will instruct you on the law at the end of this case, after the presentation of all the evidence. You

must follow only my instructions on the law, which will include instructions on the law governing

damages. I therefore instruct you not to speculate as to what the elements of the law are at this

point in the trial.
